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UNITEI) STATES l)IS'I`RlCT C()URT
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V.
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Upon consideration of`lhe Government’s Motion to Dismiss without prejudice both couan oi` the
Complaim (i`iCI" No. 3), il is herebyll
ORDF.REI} that said molion is (}RANTEI). and that the Complaim filed on .Iul_\' O. 2018 (.s’ee

I"§Cl" No. l) is I)ISMISSEI) Wl'l`I-IOU'I1 I’REJUI)ICE.

  
  

%/Mj
DI."`,BORAI-I A. ROBlNSON
Unitcd Slales Magislrate lodge

.lul)" l‘). 2018

